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                           13     AARON SIMS, MATT DUFFER, ROSS
                                  DUFFER, NETFLIX, INC., NETFLIX
                           14     STREAMING SERVICES, INC., and
                                  21 LAPS INC.
                           15
                           16                                 UNITED STATES DISTRICT COURT
                           17                                CENTRAL DISTRICT OF CALIFORNIA
                           18
                                  IRISH ROVER ENTERTAINMENT,                 Case No.: 2:20-cv-06293-CBM-PLA
                           19     LLC, a California limited liability
                                  company,                                   Assigned to Hon. Consuelo B.
                           20                                                Marshall
                                                    Plaintiffs,
                           21
                                           v.                                JOINT CASE MANAGEMENT
                           22                                                STATEMENT
                                  AARON SIMS, an individual; MATT
                           23     DUFFER, an individual; ROSS
                                  DUFFER, an individual; NETFLIX,
                           24     INC., a Delaware corporation;              Date: June 1, 2021
                                  NETFLIX STREAMING SERVICES,                Time: 10:00 a.m.
                           25     INC., a Delaware corporation; 21           Courtroom: 8B
                                  LAPS, INC., a California corporation;
                           26     and DOES 1 through 50, inclusive,
                                                                             First Amended Complaint Filed:
                           27                       Defendants.              October 12, 2020
                           28

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                              1            Pursuant to Federal Rule of Civil Procedure 26, Local Rule 26-1, and this
                              2   Court’s Standing Order [Docket No. 8] and Order Setting Scheduling Conference
                              3   [Docket No. 42], Plaintiff Irish Rover Entertainment, LLC (“Plaintiff”) and
                              4   Defendants Aaron Sims, Matt Duffer, Ross Duffer, Netflix, Inc. Netflix Streaming
                              5   Services, Inc., and 21 Laps Inc. (“Defendants”) (collectively, the “Parties”) hereby
                              6   submit their Joint Rule 26(f) Report.
                              7            A.       STATEMENT OF THE CASE
                              8            Plaintiff commenced this action on July 15, 2020, and filed the Amended
                              9   Complaint on October 12, 2020. Plaintiff’s Amended Complaint alleges copyright
                           10     infringement, contributory copyright infringement, vicarious copyright infringement,
                           11     and seeks declaratory relief.
                           12              1.       Plaintiff’s Statement:
                           13              Plaintiff filed this lawsuit against Defendants for copyright infringement in
                           14     connection with Plaintiff’s screenplays and concept art (collectively, “Totem
                           15     Works”).
                           16              Plaintiff will demonstrate that Defendant Aaron Sims had access to the Totem
                           17     Works, that he disclosed the Totem Works to the remaining Defendants, and that
                           18     Defendants collectively developed, produced, and released the streaming show
                           19     Stranger Things on Netflix, which infringes on the Totem Works. The characters,
                           20     plots, settings, dialogue, themes, moods and pace of these works are substantially
                           21     similar, as is much of the concept art in both works. These similarities extend well
                           22     beyond mere coincidence and support a finding that Defendants infringed the Totem
                           23     Works.
                           24              Both works showcase a monster, Azrael in Totem and the Shadow
                           25     Monster/Mind Flayer in Stranger Things, that escapes through a ruptured “veil”
                           26     between two dimensions and invades human reality with its monster minions
                           27     (Blackwolves in Totem and Demogorgons in Stranger Things). The respective
                           28     protagonists in both works, Jackson in Totem and Joyce in Stranger Things, embark

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                              1   on similar quests in their motives, actions, and unrelenting resolve to rescue a loved
                              2   one that has been abducted by the monster. Each protagonist fights alongside his/her
                              3   close friend, William Nerowe in Totem and Jim Hopper in Stranger Things. Both
                              4   works also feature a main character, a pubescent girl, Kimi, a ten-year-old in Totem
                              5   Works and Eleven, a twelve- year-old in Stranger Things, who inadvertently creates
                              6   a rupture between the two dimensions allowing the respective monsters to enter the
                              7   human realm. Last, the Jackson-Nerowe duo in Totem and the Joyce-Hopper duo in
                              8   Stranger Things both enter a carbon-copy alternate dimension and wend their way
                              9   through the respective alternate dimensions and come to an ominous carbon copy of
                           10     the respective protagonists’ homes where they rescue their respective loved ones.
                           11              There are also numerous similar visual and verbal elements that are integral to
                           12     Totem Works and appear in Stranger Things. Taken alone, each one could be
                           13     considered coincidental. However, because there are so many of these elements that
                           14     are common to both projects, when taken together, there can be no other conclusion
                           15     that that Defendants infringed on Plaintiff’s literary work and concept art.
                           16              2.       Defendants’ Statement:
                           17              Plaintiff alleges that three different seasons of the acclaimed Netflix series,
                           18     Stranger Things, collectively infringe on certain unpublished screenplays entitled
                           19     Totem. Plaintiff also alleges that Stranger Things infringes on certain unpublished
                           20     “concept art” for Totem. Plaintiff’s infringement claims are entirely without merit –
                           21     as there is no substantial similarity of protectable elements between these works.
                           22              Stranger Things is a lighthearted and sentimental series. It is set in a small
                           23     Indiana town in the mid-1980s. The series focuses on four teenage boys and a young
                           24     girl, named “Eleven,” who possesses telekinetic powers. After scientists in a nearby,
                           25     secretive laboratory mistakenly open a portal to another dimension, the children bond
                           26     together to save the town from the creatures that have invaded their quiet
                           27     neighborhood. Plaintiff’s Totem, on the other hand, is the story of Jackson Chance,
                           28     an epileptic veteran who dies after freeing his dead wife’s spirit from the grasp of a

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                              1   giant English-speaking angel/demon named Azrael. Jackson is able to defeat Azrael
                              2   with the help of his friend, Dr. Nerowe, who is revealed to be a powerful “medicine
                              3   man.” The characters, plots, settings, dialogue, themes, moods and pace of these
                              4   works are entirely dissimilar.
                              5            Moreover, Plaintiff’s concept art is not legally similar to Stranger Things,
                              6   particularly because Plaintiff’s artwork involves Native American imagery such as
                              7   totems, dreamcatchers, magical weapons and costumes that are specific to Plaintiff’s
                              8   work, and that are not present in Stranger Things.
                              9            Plaintiff’s work is objectively different from Stranger Things in virtually every
                           10     imaginable measure and Defendants believe that Plaintiff’s claim should be
                           11     dismissed, as a matter of law, by the Court.
                           12     B.       SUBJECT MATTER JURISDICTION
                           13              Plaintiff alleges that this Court has subject matter jurisdiction over this action
                           14     under 28 U.S.C. §1331 and §1338(a), as this action asserts copyright claims arising
                           15     under the laws of the United States.
                           16              Defendants do not challenge subject matter jurisdiction.
                           17     C.       KEY LEGAL ISSUES
                           18              The key legal issues to be determined in this matter are whether: (1) the creators
                           19     of Stranger Things had access to Plaintiff’s work, (2) any substantial similarity of
                           20     protectable expression exists between Plaintiff’s Totem scripts and concept art and
                           21     Defendants’ Stranger Things, and (3) the amount of damages, if any, to which
                           22     Plaintiff is entitled from Defendants, or any of them.
                           23     D.       DAMAGES
                           24              Plaintiff has sought the following damages in the alternative: (1) Defendants’
                           25     profits in amounts to be proven at trial, or (2) the maximum statutory damages in the
                           26     amount of $150,000 per work infringed. Plaintiff also will seek recovery of his
                           27     attorney’s fees and costs in connection with this action and such other relief as the
                           28     Court may deem proper.

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                              1            Defendants have not asserted any damages in this matter and dispute that
                              2   Plaintiff is entitled to any damages. However, Defendants intend to seek recovery of
                              3   their attorney’s fees and costs of suit in connection with this action and such other
                              4   relief as the Court may deem proper.
                              5   E.       ADDITIONAL PARTIES
                              6            The Parties do not presently anticipate a need to add parties to this action.
                              7   F.       MANUAL FOR COMPLEX LITIGATION
                              8            The Parties agree that the procedures of the Manual for Complex Litigation
                              9    need not be utilized in this case.
                           10     G.       DISCOVERY
                           11              1.       Status of Case. Defendants filed a motion to dismiss the First Amended
                           12     Complaint in December of 2020, and the Court denied the motion in January of 2021.
                           13     Defendants filed an answer to the First Amended Complaint on or about February 4,
                           14     2021.
                           15              2.       Initial disclosures. The Parties do not request any changes to the timing,
                           16     form, or requirement for disclosure under Rule 26(a). The Parties have agreed to
                           17     exchange initial disclosures under Rule 26(a) on or before May 28, 2021.
                           18              3.       Written Discovery. The Parties intend to serve requests for production,
                           19     interrogatories and requests for admission and anticipate that responsive documents,
                           20     and written discovery responses relating to liability will be completed by December,
                           21     2021.
                           22              4.       Depositions.   Plaintiff   anticipates   taking   approximately      10-15
                           23     depositions, and Defendants anticipate taking 4-5 depositions. The dates for these
                           24     depositions have not yet been set, and the parties anticipate that depositions relating
                           25     to liability will move forward between January, 2022 and May of 2022.
                           26              5.       Subjects on which discovery may be needed. The Parties believe that
                           27     discovery will be needed concerning: (1) the creation of Plaintiff’s Totem scripts and
                           28     concept art, (2) the development of Plaintiff’s film project, (3) Plaintiff’s

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                              1   communications concerning his film project, (4) Aaron Sims’ communications with
                              2   the remaining Defendants, (5) the creation of Defendants’ Stranger Things, and (6)
                              3   damages/profits.
                              4            6.       Phased discovery.
                              5            Plaintiff does not believe that phased discovery is necessary or that Defendants
                              6   would be unduly burdened by participating in liability and damages discovery
                              7   simultaneously. Plaintiff further contends that there may some overlap in liability and
                              8   damages discovery and that bifurcating discovery will only result in unnecessary
                              9   delay in resolution of this action.
                           10              Defendants propose that liability discovery take place first, before discovery
                           11     relating to damages/profits takes place. Plaintiff’s claims may be resolved as a matter
                           12     of law, after discovery relating to liability is complete, and Plaintiff will not be
                           13     prejudiced by participating in damages discovery after the Court hears Defendants’
                           14     anticipated motion for summary judgment.
                           15              7.       Discovery limitations.
                           16              Plaintiff requests Court approval to (1) take up to fifteen depositions, and (2)
                           17     to propound up to fifty interrogatories on each Defendant.
                           18              Defendants do not agree that any deviations from the discovery limits are
                           19     necessary in this case, and propose that discovery can be completed within the
                           20     confines of the federal rules.
                           21
                           22              8.       Electronically stored information. The Parties do not anticipate any
                           23     specific issues related to electronically stored information (“ESI”). The Parties will
                           24     cooperate in good faith and will attempt to agree upon the scope and form of
                           25     production of any relevant ESI. The scope of discovery or the format of the production
                           26     of ESI may be further limited or modified by the Court upon a showing of good cause
                           27     or undue burden and expense.
                           28

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                              1            9.       Privilege and trial-preparation materials. Under Federal Rule of Civil
                              2   Procedure 26(b)(5)(B), the inadvertent production of any privileged or otherwise
                              3   protected ESI or documents shall not be deemed a waiver or impairment of any claim
                              4   of privilege or protection including but not limited to the attorney-client privilege or
                              5   work product doctrine immunity, provided that the producing party promptly notifies
                              6   the receiving party of the inadvertent production. Upon notification, the receiving
                              7   party shall retrieve and return any such material within a reasonable time, and the
                              8   receiving party’s counsel shall not use such information for any purpose until further
                              9   order of the Court. Any analyses, memoranda or notes that were generated based
                           10     upon such inadvertently produced information shall immediately be treated in
                           11     conformance with the protected nature of the information. The producing party must
                           12     also preserve the information until any dispute regarding the material is resolved.
                           13              10.      Any other orders relating to discovery. The Parties intend to prepare and
                           14     jointly submit a Stipulation and Protective Order that will govern the disposition of
                           15     confidential information produced in discovery.
                           16     H.       EXPERT DISCOVERY
                           17              Plaintiff anticipates engaging three expert witnesses on the following issues:
                           18      (1) literary similarities Plaintiff claims exists between the parties’ works, (2) alleged
                           19      infringement of Plaintiff’s concept art, and (3) damages/profits.

                           20              Defendants anticipate engaging two expert witnesses. One expert will address

                           21      the alleged literary similarities Plaintiff claims exist between the parties’ works.
                                   Defendants also intend to submit expert testimony relating to prior art, including in
                           22
                                   order to address Plaintiff’s claims relating to alleged infringement of Totem’s
                           23
                                   ‘concept art.’
                           24
                                           The Parties reserve the right to designate experts based on the evidence
                           25
                                   developed during discovery, and to rebut any proposed experts proffered by the other
                           26
                                   party.
                           27
                           28

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                              1            The Parties have agreed to exchange initial expert disclosures on March 11,
                              2    2022, and to exchange rebuttal expert disclosures on April 15, 2022.
                              3   I.       DISCOVERY CUT-OFF
                              4            Plaintiff proposes a discovery cut-off date on all issues of May 30, 2022.
                              5            Defendants propose a discovery cut-off date on liability issues of May 30,

                              6    2022, and, as set forth below, a conference with the Court thereafter to discuss

                              7    damages discovery, if necessary.

                              8   J.       DISPOSITIVE MOTIONS
                                           Defendants anticipate filing a motion for summary judgment in accordance
                              9
                                   with the dispositive motion deadline set by this Court.
                           10
                                           The Parties have agreed to a motion hearing cut-off date of July 19, 2022.
                           11
                                           The Parties propose a further case management conference, if necessary, to take
                           12
                                   place on July 19, 2022 and that will address the schedule for damages discovery, if
                           13
                                   the Court agrees to phased discovery, and trial.
                           14
                                  K.       SETTLEMENT
                           15
                                           The Parties elect ADR Procedure No. 3 and will participate in a private
                           16
                                   mediation. The Parties have agreed to mediate on or before July 15, 2022.
                           17              The Parties have discussed settlement and do not believe the prospects of
                           18      settlement are likely at this time.
                           19     L.       PRE-TRIAL CONFERENCE
                           20              The Parties propose a Pre-Trial Conference date to be set at the July 19, 2022
                           21      case management conference, following the completion of liability discovery and
                           22      following the hearing on Defendants’ motion for summary judgment.
                           23     M.       TRIAL
                           24              Plaintiff demanded a jury trial in its First Amended Complaint filed on October
                           25      12, 2020 [Docket No. 10].
                           26              The attorneys who will try the case on behalf of Plaintiff are Jeremy Osher and
                           27      Saba Zafar, and the attorneys who will try the case on behalf of Defendants are David

                           28      Grossman and Nathalie Russell.

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                              1            The Parties estimate the trial will last approximately 5-7 court days.
                              2   N.       MAGISTRATE JUDGE AS PRESIDING JUDGE
                              3            The Parties do not consent to the Magistrate Judge as the presiding judge in this
                              4    matter.
                              5
                              6                                             Respectfully submitted,

                              7   Dated: May 25, 2021                       BOREN, OSHER & LUFTMAN LLP
                              8
                                                                            By:       /s/ Jeremy J. Osher
                              9                                                   Jeremy J. Osher
                                                                                  Saba Zafar
                           10                                                     Attorneys for Plaintiff
                           11
                           12     Dated: May 25, 2021                       LOEB & LOEB LLP
                           13
                                                                            By:       /s/ David Grossman
                           14                                                     David Grossman
                                                                                  Nathalie Russell (admitted pro hac vice)
                           15                                                     Attorneys for Defendants
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 1                                    PROOF OF SERVICE
 2
     STATE OF CALIFORNIA                   )
 3                                         )      ss
 4   COUNTY OF LOS ANGELES                 )

 5          I am employed in the County of Los Angeles, State of California. I am over the age
     of 18 years of age and am not a party to this action. My business address is 222 North
 6
     Pacific Coast Highway, Suite 2222, El Segundo, CA 90245.
 7
            On May 25, 2021, I served the document(s) as described below on interested parties
 8   in this action as follows:
 9
             JOINT CASE MANAGEMENT STATEMENT
10
             electronically by using the Court’s ECF/CM System.
11       ☒
     I
             DAVID GROSSMAN                            Attorneys for Defendants AARON
12
             NATHALIE RUSSELL                          SIMS, MATT DUFFER, ROSS
13           LOEB & LOEB LLP                           DUFFER, NETFLIX, INC., NETFLIX
             10100 Santa Monica Blvd., Suite 2200      STREAMING SERVICES, INC., and
14
             Los Angeles, CA 90067                     21 LAPS INC.
15           dgrossman@loeb.com
16

17         I declare under penalty of perjury under the laws of the State of California that the
     above is true and correct.
18

19
             Executed on May 25, 2021, at El Segundo, California.

20                                                           /s/ Kristina Hicks
21                                                            Kristina Hicks
22

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                                                 1
                                          PROOF OF SERVICE
